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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


NexGen HBM, Inc. & Home Buyers                        Civil No. 0:16-cv-03143-SRN-FLN
Marketing, Inc.,

                                   Plaintiffs,    CERTIFICATE OF SERVICE OF
vs.                                                   PROPOSED ORDER

ListReports, Inc., a California corporation,
Ajay Shah, Randy Shiozaki, and Esther
Yang,

                                Defendants.


        I hereby certify that on October 17, 2016, I caused the Proposed Order on
Stipulation Regarding Defendant ListReports, Inc.’s Opposition to Plaintiffs’ Emergency
Motion for Leave to Conduct Discovery [Dkt. 9] to be filed with the court via email to
the following judge who is considering the motion:

Honorable Franklin L. Noel
noel_chambers@mnd.uscourts.gov

and I certify that I caused a copy of the proposed order to be emailed to the following:

Michael M. Lafeber (#242871)
Scott M. Flaherty (#388354)
MLafeber@briggs.com
SFlaherty@briggs.com
BRIGGS AND MORGAN, P.A.
      CASE 0:16-cv-03143-SRN-FLN Document 10 Filed 10/17/16 Page 2 of 2




October 17, 2016                          FAEGRE BAKER DANIELS LLP

                                           s/Randall E. Kahnke
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                                          INC.


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